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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,                         )   Case Number:   17-40085
                                                   )
                                        Plaintiff, )
                                                   )
 vs.                                               )
                                                   )
 DARNELL TYREE-PEPPERS,                            )
                                                   )
                                      Defendant. )     Date of Hearing: 9/26/23
 ___________________________________________       )

       CRIMINAL MINUTE SHEET – FINAL REVOCATION – SUPERVISED RELEASE
                   Conclusion of 8/16/23 Revocation Hearing

 JUDGE:                       Hon. Toby Crouse, United States District Judge
 COURT REPORTER:              Sherry Harris
 COURTROOM DEPUTY:            Traci Anderson
 Time in Court:               54 minutes

APPEARANCES:   court and parties appear by: IN PERSON
  • UNITED STATES OF AMERICA:      Stephen Hunting for Lindsey Debenham
  • DEFENDANT’S COUNSEL:           Tom Bartee
  • DEFENDANT:                        On Release – Present at hearing
  • UNITED STATES PROBATION:       Valerie Allen for Courtney Smith

PROCEEDINGS:

This hearing is the conclusion of the revocation hearing which began on 8/16/23, wherein
the Court set a briefing schedule. Defendant, at that hearing, did not stipulate to the
violations outlined in paragraphs 17-20 of the Violation Report, Doc. 93, and makes its
jurisdictional objection.

Both parties submitted briefs. The Court overrules Defendant’s jurisdictional objection.

The Court finds that Defendant has violated the conditions of his supervised release as set
forth in the Violation Report, Doc. 93, and, therefore, said term of supervised release is
REVOKED.

It is the judgment of the Court: The Court will reinstate one year of supervised release to
begin today. Mr. Peppers shall be placed on supervised release for a term of one year as
discussed on the record.

Defendant is released on supervised release.
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